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           EXHIBIT A
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POLICIES AND PROCEDURES MANUAL
AUGUST 2017                    LIBRARY MEETING ROOM POLICY


General Guidelines
In those branches with meeting rooms, it is the policy of the Yolo County Library to
provide facilities for meetings of not-for-profit groups. A not-for-profit organization is
one whose purpose is service to the community rather than financial gain. It may or
may not be registered as a charitable organization. In adopting this policy, it is the
intent of the Library to support the Library Bill of Rights, Article Six, “Libraries which
make exhibit spaces and meeting rooms available to the public they serve should
make such facilities available on an equitable basis, regardless of the beliefs or
affiliations of individuals or groups requesting their use.” Permission to use Yolo
County Library facilities is not an endorsement or sponsorship of any group, individual,
organization or event.

Fees may be charged to recover various costs including, but not limited to,
depreciation of facilities, furniture and equipment, maintenance, repairs, cleaning, and
scheduling.

Procedures developed in each branch to implement the meeting room policy must be
written and approved by the Library policy team before implementation.

Priorities
First priority in scheduling the meeting rooms will be given to library programs and
library-related groups and programs.

Fees
Meeting room fees are reviewed and adjusted periodically by the Library Advisory
Board and the Board of Supervisors. Fees are designed to cover the cost of
maintenance of the meeting room and equipment. Information about fees may be
found in the Library’s Master Fee schedule.

      Basic use of the meeting room, tables, and chairs will be permitted at no charge
       when the library is open.
      Hourly fees may be charged for the use of the room when the library is closed.
      Fees may be charged for use of the audio-visual equipment to cover the cost
       of wear and tear, depreciation, maintenance, and usage instruction.
      Fees may be charged for use of beverages, food, and other material that could
       soil furniture, equipment, walls and carpet. This fee may also include the use
       of a kitchen, where available.



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      Fees may be charged when staff are called in to resolve after-hour problems,
       such as improperly set alarms.
      Fees may be charged to cover extraordinary cleanings.
      Fees may be charged when paying refunds.
      Fees may be charged to replace lost keys to the meeting room.

Groups exempt from fees include:
    The Library and its sponsored programs;
      Friends of the Library organizations;
      Library partners, as determined by agreements between the Library and its
       partners; and
      Other Yolo County departments and their agents.


Refunds

Refunds may be allowed upon receiving a two (2) week in advance written
cancellation notice made by the person originally submitting the reservation. Any
refund is subject to a processing fee.

General Rules
These guidelines must be followed in order to retain meeting room privileges. Failure
to comply with the policy will result in withdrawal of room reservation privileges.

      Meeting rooms must be used in a way so that any use advances the Yolo
       County Library’s mission to provide access for all to ideas that inform, entertain,
       and inspire, and to “connect people and ideas”.
      In order to provide maximum access to the meeting room for as many groups
       as possible, restrictions on frequency of use by any group may vary from
       branch to branch.
      All groups of persons under 18 years of age must be supervised by an adult,
       who will be responsible for the group’s actions.
      All meetings must be open to the public and free of charge; viewpoint neutral
       political forums may be allowed.
      Friends of the Library may use the meeting room for fundraising activities that
       benefit the Library, including book sales.
      Groups not associated with the library must clearly state in any press releases
       or other publicity that the meeting is not sponsored by the Library and that the




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     presence of the group in the meeting room does not constitute Library
     endorsement of the policies or beliefs of the group.
    Groups using the meeting room will be responsible for maintaining the order
     and care of the room and its furnishings, and for the set up and take down of
     furnishings.
    Smoking, candles, or flames are not permitted.
    Alcoholic beverages are not permitted.
    Smoking is not permitted in the room, within twenty (20) feet of any door, or
     anywhere at a facility located on a school campus.
    Admission or registration fees may not be charged. Any charges must be
     limited to defraying the cost of actually participating in the activity, such as craft
     materials.
    Materials that complement a Yolo County Library program may be sold in the
     meeting room. For example, authors may sell their books at Library sponsored
     programs.
    Yolo County Library is not responsible for loss or damage to individual or group
     property before, during, or after the meeting.
    Attendance may not exceed the stated capacity of the meeting room.
    Equipment, supplies, or personal effects cannot be stored or left in the meeting
     room before or after use.

     Meeting rooms may not be reserved for:
        o the benefit of a private individual;
        o a political rally or campaign for or against a specific ballot issue or
          candidate, (viewpoint neutral political forums may be allowed);
        o a commercial concern;
        o money raising programs (with the exception of Friends groups, where
          the proceeds benefit the Library);
        o social gatherings such as baby showers, birthday parties, dances, etc.;
          or
        o any group whose program would interfere in any way with library
          services.




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